            Case 2:17-cr-00023-DAD Document 33 Filed 02/03/17 Page 1 of 4


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Attorney for Defendant
ELO WADLEY




                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                          Case No.: 2:17-mj-012 EFB
                Plaintiff,

vs.                                                STIPULATION AND PROPOSED ORDER
                                                   EXTENDING PERIOD TO FILE
ELO WILLIE WADLEY,                                 EXECUTED SIGNATURE BOND

                Defendant.




       The parties to this action, Plaintiff United States of America by and through Assistant

United States Attorney Jason Hitt, and Defendant Elo Wadley by and through his attorney Todd

D. Leras, stipulate as follows:

       1.    Defendant Wadley is charged by Criminal Complaint with one count of Conspiracy

             to Distribute and Possess with Intent to Distribute cocaine and cocaine base (21

             U.S.C. §§ 846 and 841(a)(1)) and one count of Use of a Communication Device to
ORDER EXTENDING
DEADLINE FOR
FILING APPEARANCE BOND
        Case 2:17-cr-00023-DAD Document 33 Filed 02/03/17 Page 2 of 4


         Facilitate a Drug Trafficking Offense (21 U.S.C. § 843(b)).

      2. Defendant Wadley first appeared in custody for arraignment on the charges in the

         Criminal Complaint on January 24, 2017. The Honorable Edmund F. Brennan, Chief

         United States Magistrate Judge, ordered Mr. Wadley temporarily detained and

         continued his detention hearing to January 25, 2017.

      3. During the appearance on January 25, 2017, Judge Brennan adopted the

         recommendation of the pre-trial services department and ordered Mr. Wadley

         released on general and special conditions of release, including the posting of the

         following unsecured bonds: (1) a $10,000 appearance bond to be signed by

         Defendant’s cousin and co-worker; and (2) a $50,000 appearance bond to be signed

         by Defendant’s employer. Defense counsel requested, and the government did not

         oppose, a request to permit the filing of the two bonds on or before February 1, 2017.

      4. Defense counsel filed the executed bond from the cousin for $10,000 before the

         February 1 deadline. Defendant’s employer, however, had left the state on a business

         trip before executing the $50,000 appearance bond. Defense counsel arranged for the

         bond to be emailed to the employer on January 31, 2017.

      5. Despite numerous attempts to contact the employer within the deadline established by

         the Court, the employer did not respond until shortly before 9:00 p.m. on February 1,

         2017. The employer indicated that he intended to sign the Appearance Bond but

         would not be able to deliver it until after he returned to California on Saturday,

         February 4, 2017.

      6. Based on the above-stated facts, the defense requests the Court extend the period for
ORDER EXTENDING
DEADLINE FOR
FILING APPEARANCE BOND
          Case 2:17-cr-00023-DAD Document 33 Filed 02/03/17 Page 3 of 4


           filing the employer’s $50,000 appearance bond to Monday, February 6, 2017.

       7. This matter is presently set for a preliminary hearing on February 7, 2017.

       8. Nothing in this stipulation and order alters any of the other general or special

           conditions of release imposed upon Defendant.

       Assistant U.S. Attorney Jason Hitt has reviewed this proposed order and authorized Todd

Leras to sign it on his behalf.



DATED: February 2, 2017
                                                     By     Todd D. Leras for
                                                            JASON HITT
                                                            Assistant United States Attorney

DATED: February 2, 2017
                                                     By     /s/ Todd D. Leras
                                                            TODD D. LERAS
                                                            Attorney for Defendant
                                                            ELO WADLEY




ORDER EXTENDING
DEADLINE FOR
FILING APPEARANCE BOND
         Case 2:17-cr-00023-DAD Document 33 Filed 02/03/17 Page 4 of 4


                                          ORDER

       BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, the

deadline for filing the $50,000 Appearance Bond signed by Defendant’s employer shall be

extended to February 6, 2017.

Dated: February 2, 2017




ORDER EXTENDING
DEADLINE FOR
FILING APPEARANCE BOND
